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 5   Attorney for Defendant
     ADRIANNA BARAJAS
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 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA         )              CASE NO.: CR.S 04-0305 DLJ
                                      )
13        Plaintiff,                  )
14                                    )
          v.                          )              REQUEST FOR ORDER AND ORDER
15                                    )              EXONERATING BOND
     ADRIANNA BARAJAS,                )
16                                    )
          Defendant.                  )
17
     ________________________________)
18
19          On September 14, 2004 an appearance bond secured by a deed against the real
20   property of Guadalupe and Lourdes Barajas, was posted on behalf of Adriana Barajas, No.
21
     Cr.S-06-0343. The property secured by a deed of trust (deed#: 2004-0039415) is 1440 May
22
     Street, West Sacramento, CA 95605. Ms. Barajas was arrested in this district based upon
23
     an indictment filed in this district.
24
25          On October 23, 2007, Ms. Barajas was sentenced in this case and subsequently her

26   self surrender date was set for January 4, 2008. Defendant has self surrendered and a

27   copy of the judgment is attached as exhibit to this request.
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            It is hereby requested that the secured appearance bond be exonerated in the
      Case 2:04-cr-00305-JAM Document 210 Filed 03/12/08 Page 2 of 2


 1   above-captioned case and that the Clerk of the District Court be directed to reconvey back
 2   to the Guadalupe and Lourdes Barajas.
 3
 4
     Dated: March 11, 2008                           Respectfully submitted,
 5
 6
 7                                                   /S/Dwight M. Samuel
                                                     Dwight M. Samuel
 8                                                   Attorney for Defendant
                                                     Adrianna Barajas
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10
11         IT IS HEREBY ORDERED that the bail bond posted by Guadalupe and Lourdes
     Barajas and secured by a Deed of Trust for their property is hereby exonerated.
12
     Dated: March 12, 2008
13
14                                                   _______________________________
                                                     D. Lowell Jensen
15                                                   U.S. District Court Judge

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